                  Case 3:20-cv-05376-BHS Document 46 Filed 01/12/21 Page 1 of 13




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 3

4

 5

6                                  UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7
     IN THE MATTER OF THE COMPLAINT                        Case No. 3:20-cv-05376-BHS
8    OF THE SCANDIES ROSE FISHING
9    COMPANY, LLC AND MATTSEN                                            IN ADMIRALTY
     MANAGEMENT, LLC, AS OWNERS
10   AND/OR OPERATORS OF THE VESSEL                        CLAIMANTS ESTATES OF RAINEY,
     SCANDIES ROSE, OFFICIAL NUMBER                       COBBAN , AND GANACIAS RESPONSE
11   602351, FOR EXONERATION FROM                         TO COURT ORDER DIRECTING REPORT
     AND/OR LIMITATION OF LIABILITY                        ON SETTLEMENT BY 1/3/20
12

13
                COME NOW all the above three death claimants (herein Rainey et al) and reports1
14
     that unfortunately their representations in Limitation Plaintiff’s 11/2/20 filed “NOTICE
15
     OF SETTLEMENT” have not proceeded as anticipated. But that’s not reason to abandon
16

17   or skirt a major term of the parties agreement and put the tug ahead of the tow. Namely

18   Alaska Superior approval of the deceased Rainey’s adjudged minor child LW (see EX A)
19              “Attorney Gerald Markham who represents three estates has not signed this
20              notice. Mr. Markham does agree that as between Limitation Plaintiffs and
                claimants that a settlement has been reached but is subject to Alaska Superior
21              Court approval of that settlement as provided in the Parties settlement
                agreement that states:
22

23   1Claimant was advised in an email that it requested any filing for its 1/14 at 11AM conference be
24   submitted by 1/11/21. But as that deadline approached this filing was not in final form due to his
     need to respond to opposing counsel’s further settlement communications at some length this
25   morning and then his need to be prepared and telephonically present in Court in Anchorage for a
     very critical hearing during a good part of the afternoon. He hopes that by working past midnight to
26   get it on the court’s desk when it opens he will have met the spirit of the court’s request.

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                “In anticipation that this offer will be accepted and policy limits will be paid,
 1              the claimants will submit the appropriate paperwork for the Alaska Superior
 2              court’s minor approval and payment of any share to any minor. This offer is
                further conditioned on the Court’s approval that settlement within policy
 3              limits is in the best interests of the child.”
4               And while he has every expectation of the Alaska Superior Court approval
                that this settlement within policy limits is in the best interests of the child' will
 5
                be forth coming (which would allow him to represent that as between
6               Limitations Plaintiff and Claimants a settlement has been reached, when this
                aspect of the case remains. He is further hesitant to sign any notice that
 7              suggests that this court has no further jurisdiction over the parties until, as
                their settlement agreement provides, the Claimants review the limitation
8               Plaintiff’s deductions from the policy and the exact sum due under the
9               agreement has been determined the settlement funds have been paid and the
                releases that limitation Plaintiff proposes is signed by all parties pursuant to
10              the parties settlement agreement and an allocation between claimants to those
                funds remain undecided. With regard to the items number 1-2 he as
11              authorized Limitation Plaintiff to state he agrees.
12
                To better understand the delays and possible solutions this court should be more fully
13
     apprised of the terms of this settlement found in the attached settlement documents
14
             EX A 7/20/20 Alaska Superior Court Probate Order determining LW is Rainy Daughter
15

16           EX B 9/9/20 (undated draft Claimants demand to Scandies Rose (herein SR)

17           EX C 10/1/20 email explaining Rainey modification to draft demand2
18
             EX D 10/1/20 Rainey Modifications
19
             EX E 10/2/20 Joint Claimants settlement demand incorporating Rainey modifications
20
             EX F 10/15/20 Limitation Plaintiff (SR) Acceptance
21

22           EX G 11/2/20 Notice of Settlement file with this Court

23

24

25   2Under Alaska law such extrinsic evidence is always admissible as to an agreements intent and it
     should be here even though the object of this settlement agreement is patently clear including both
26   of its choice of forum and choice of law provisions (the later found in the reference to ARCP 90.2)

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             The validity and interpretation of seaman’s settlement agreement is a matter of
 1

 2   Federal Maritime law. Kossick v. United Fruit 365 US 731 (1961), Garrett v. Moore -McCormick

 3   317 US 239 (1942); South Buffalo Railway Co. Ahern 344 US 731 (1953); See also Johnson v. BP
4    Exploration & Prod 786 F3d 344, 354 (5th, 2015). Under Kossick at 739:
 5
                      the analysis is akin to process somewhat analogous to the
6            accommodation, entirely familiar in many areas of overlapping state and
             federal concern, or a process somewhat analogous to the normal conflict of
 7           laws situation where two sovereignties assert divergent interests in a
             transaction as to which both have some concern. Surely the claim of federal
8            supremacy is adequately served by the availability of a federal forum in the
9            first instance, and of review in this Court to provide assurance that the federal
             interest is correctly assessed and accorded due weight
10
     but also tempered with the caveat further noted at 741:
11
                     It must be remembered that we are dealing here with a contract, and
12           therefore with obligations, by hypothesis, voluntarily undertaken, and not, as
             in the case of tort liability or public regulations, obligations imposed simply by
13           virtue of the authority of the State or Federal Government. This fact, in
14           itself, creates some presumption in favor of applying that law tending
             toward the validation of the alleged contract.
15

16           The survivors here argue that the provisions of this agreement for deposit of the

17   funds in the Rainey’s attorney’s Alaskan trust account which the survivors attorneys which
18   the Russo Estate (all represented by Washington attorneys) all knowingly entered into but
19
     now assert (when it suits their purposes) violate Washington bar rules. But that puts the tug
20
     before the tow because nowhere do they argue that this settlement’s provisions for Alaska
21

22   Superior Court approval of this minor’s settlement violates any Washington law. Nor more

23   relevantly, do they assert that it violates any principal of maritime law which clearly controls

24   this limitation action. See Hartford Accident & Indemnity Company v. Southern Pacific
25
     Company, 273 U.S. 207 (1927).
26

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             Nor does such an agreement violate this this court’s Local Rule 17(c) which provides:
 1

 2                   In every case where the court is requested to approve a settlement
             involving the claim of a minor or incompetent, an independent guardian ad
 3           litem, who shall be an attorney-at-law, must be appointed by the court, and
             said guardian ad litem shall investigate the adequacy of the offered settlement
4            and report thereon; provided, however, that the court may dispense with the
             appointment of the guardian ad litem if a general guardian has been previously
 5
             appointed for such minor or incompetent, or if the court affirmatively finds
6            that the minor or incompetent is represented by independent counsel.

 7           The terms of this rule do not expressly apply first respectfully because this court was
8
     not requested to approve this settlement. And there are several legitimate reasons that do
9
     not threaten this minor’s interests why that is. First and foremost that this is an Alaskan state
10
     territorial waters accident 2.8 miles from Sutwick Island and the applicability of the full
11

12   panoply of maritime law to such accidents has not been fully adjudicated. Moreover it is

13   brought by Limitation Plaintiff Scandies Rose Fishing Company LCC and Mattsen

14   Management, LLC. Scandies Rose LCC is unquestionably incorporated in Alaska, and
15
     though it has alleged that its principal place of business is in Washington that incredulous
16
     claim with regard to a large multispecies pot fishing vessel which spends virtually all of its
17
     time (except when in the repair yard) was contested by all claimants. Likewise all claimants
18

19   contested Mattsen Management LLC’s right to bring a limitation proceedings at all. And

20   because if this case is settled as to these Limitation Plaintiff’s (i.e. if this minor’s settlement
21   under ARCP 90.2 is approved) these issues will never be adjudicated. Hence the question
22
     will always remain when this minor turns 18 and is dissatisfied what protections will these
23
     limitation Plaintiffs' have? They bargained for ARCP 90.2 approval and per Kossick supra the
24
     government has little interest in denying such contracts so they should be enforced.
25

26

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             Likewise this minor’s mother entered into a (very favorable) contingent fee contract
 1

 2   for her daughters representation with your undersigned Alaskan attorney for representation

 3   in this Alaskan state waters death claim. And in the bargain he threw in his representation in
4    her claim against an accidental death (ADD) insurer for this Alaskan’s accidental death.
 5
     That has not as yet needed to come to litigation (but neither is it quite yet settled). But if her
6
     father’s paternity is allowed to be successfully questioned in Washington (by those who do
 7
     not even have an interest in her recovery) her recovery is surely in risk of be impaired.
8

9            So too will be her entitlement to a share of her father’s maritime employment claim

10   for a long prior to his death separate serious knee injury when while working on the SR he
11   was struck by a crab pot necessitating surgery which this court can take judicial notice has
12
     been filed in Alaska State Court. See Kodiak Superior Court 3KO-20-00244CI Accordingly
13
     the settlement of these too claims are in need of to Alaska ARCP 90.2 approval. Nor is
14
     upholding a contract provision for ARCP 90.2 minor approval an abrogation of this court’s
15

16   duty to protect minors generally. See Salmeron v. United States, 724 F.2d 1357, 1363 (9th Cir.

17   1983) cited with approval by the controlling Alaska Supreme Court case on the subject
18   Matter of Estate of Brandon , 902 P.2d 1299 (Alaska 1995). And here we have a paternity
19
     finding in a formal domiciliary in rem probate proceedings that binds the worlds. See Tilt v.
20
     Kelsey 207 U.S. 43 (1907); Williams v. North Carolina, 325 U.S. 226 (1945)
21

22           Brandon dealt with like weak allegations disputing paternity and lacking a prior

23   adjudication, but Brock Rainey’s minor child’s determination. EX A goes on to recites these

24   survivors not only had notice of this proceedings but actually testified at it! Compare In re
25
     Estate of Fields, 219 P.3d 995 (Alaska 2009) regarding constructive notice.
26

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                Manufactured Home Communities Inc. v. City of San Jose, 420 F.3d 1022, 1031 (9th Cir.
 1

 2   2005) further proscribes Federal courts are required to give full faith and credit to state court

 3   judgments under 28 U.S.C. § 1738. See San Remo Hotel, L.P. v. City & County of San Francisco,
4    545 U.S. 323 (2005). Generally "[u]nder res judicata, a final judgment on the merits of an
 5
     action precludes the parties or their privies3 from relitigating issues that were or could have
6
     been raised in that action." Johnson v. Muelberger, 340 U.S. 581, (1951) To determine the
 7

8    preclusive effect of a state court judgment federal courts look to the state law of the state

9    judgment being enforced. Palomar Mobile-home Park Ass 'n. v. City of San Marcos 989 F2d 362,

10   364 (9th Cir. 1993). Fundamentalist Church of Jesus Christ of Latter-Day Saints v. Horne, 698 F.3d
11
     1295 (10th Cir. 2012).
12
                And finally an examination of the record in this Alaska superior Court ARCP 90.2
13
     proceedings In re LW 3KO-20-00059PR will bind that survivors initially entered general
14

15   appearances purposefully to contest this child paternity claims there (but abandoned when

16   she in response she got a paternity test with the deceased Rainey’s father ‘s DNA that
17   showed she was Brock Rainey’s Daughter to a 97.1% 4(which under Alaska law AS
18

19
     3 Aside from having ample notice of the Rainey formal Probate evidentiary hearing at which her
20   father’s paternity was established The Estate of Seth Russo is also in privity with the survivors Lawler
     and Gribble not only in attending that probate hearing telephonically even though (as in Parker its
21
     attorney didn’t formally enter an appearance) but all three are estopped by their actions in making an
22   all claimants joint policy limits demand for the SR “limits” premised on that Alaska Superior Court
     express determination of her father’s paternity which acceptance the threat of her damages induced.
     4 And in furtherance of its duty to protect his minor under Salmeron supra as noted by the Alaska
23
     Supreme Court in Brandon supra at 1311: “Assuming there was any genuine dispute about paternity,
24   one would expect that the parties could have given the trial court a candid and possibly confidential
     assessment of the issue without revealing evidence that would have subsequently aided Ryan Air in
25   defending against the estate's damages claim in the wrongful death action. Here Scandies Rose has
     already (twice) acknowledged that this matter is settled (subject only to ARCP 90.2 minor approval).
26

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     25.20.050(d) “a probability of parentage at 95 percent or higher creates a presumption of
 1

 2   parentage that may be rebutted only by clear and convincing evidence”.5

 3              Nevertheless survivors urge this court prematurely rule (before this minor’s
4    settlement is ARCP 90.2 approved to be in her “best interests” and until which we don’t
 5
     even have a settlement) that rather that have this issue proper adjudicate by the Alaska
6
     probate court (which having already adjudicated her daughter status could proceed right to
 7
     this minor’s approval (or conceivably not) and instead leave this minors simple “status” issue
8

9    unresolved (despite its 7/20/20 judgment resolving it. Survivors would instead propose to

10   carry it on along for trial together with the much more complex issue (again if the 90.2
11   approval is forthcoming) along to a (jury) trial as to how much of this $9+M settlement
12
     with the Scandies Rose (which according to them is nothing since she’s not a beneficiary).
13
                And in that connection survivors further suggest this court should follow the
14
     “suggestion” (as its certainly not bound by this clearly keen to find any excuse to avoid any
15

16   role in this controversy Alaska Superior Court that it proceed by way of Survivors proposed

17

18   5 Conversely under WRS 26.26A.325 if a parties test results are 99% probable and it meets other
     criteria parentage is established but unlike Alaska’s 95% probability there appears to be no clear and
19   convincing evidence requirement to when challenging s result such as LW’s. Moreover it appears
     that under Washington law none of these third parties by virtue of these contract to share in these
20   settlement proceedings would have standing to bring such a proceedings (hence not be bound by
     the result. Not does it appear that Washington permits jurisdiction over the estate of a non-resident
21   deceased. See 26.26A.415, 26.21A.100. Conversely this determination can clearly be brought in an
     Alaska ancillary probate proceeding in See Estate of James v. Seward 401 P3d 976 (AK 2009) and
22
     logically in a ARCP 90.2 Guardianship estate proceedings to approve the settlement for the
23   wrongful death of an Alaskan deceased (whether Alaskan’s probate court adjudicated or not)
     because this is an adjudication as to “status” that the domiciliary state has a paramount interest in
24   under the authorities above cited.

25

26

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     (28 UCC § 1335) interpleader action. Suffice it to say that the Alaska Superior Court gave no
 1

 2   consideration to the fact in making such a determination, this court would clearly be

 3   asserting probate jurisdiction over this minor’s “status” “probate exception” to the district
4    court’s diversity jurisdiction which has been clear well before Markham v. Allen 326 US 490
 5
     (1946) as further explained in Marshall v. Marshall 547 (2006) which was and most recently
6
     articulated in Goncalves v. Rady Children's Hospital San Diego, 865 F.3d 1237 (9th Cir. 2017).
 7
             Unlike the case of Goncalves this court approval of this minor settlement (which under
8

9    the Survivors contention that she is not the deceased Rainey’s child would most certainly

10   require it to re-determine this minor’s “status”. As indicated in Goncalves at 1251-52:
11           The first part of the inquiry focuses on the question whether the matter is
12           purely probate in nature, in that the federal court is being asked directly to
             probate a will or administer an estate. As the Moser court noted " since few practitioners
13           would be so misdirected as to seek, for example, letters testamentary or letters of
             administration from a federal judge," the answer to this question is almost always No
14
             But that is exactly what these Survivors in their challenge to the deceased Brock
15

16   Rainey’s paternity ask this court to because if their outlandish challenge were to be upheld

17   this court would in effect had to issue new letters of administration that excluded LW’s
18   mother JW and strike the 7/20/20 finding it made that LW was his daughter. It is not in the
19
     best interests of any minor to have this court make this determination in this fashion no
20
     matter how capable it might be. This 7/20/20 “status” determination EX A (if remotely
21

22   they mustered the evidence to set it aside) should be made by a court of Rainey’s domicile

23   sitting without a jury in probate. Seward Id. And it is not in this minor’s best interests is for

24   this court to even consider how to adjudicate her entitlement to any particular amount at this
25
     point before an ARCP 90.2 determination that this settlement is in her best interests.
26

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             Fortunately as the Alaska Superior Court’s 12/29/20 interlocutory decision pg. 2
 1

 2   declining (for the moment) to exercise its jurisdiction made clear that while clearly not keen

 3   to do so, his primary concern was that this court’s minute order pulling the case of the trial
4    calendar and setting it on for a status report 1/3/21 was not a clear indication that it wished
 5
     the Alaska Superior Court to address any of the issues in the paternity contest that the
6
     survivors instead immediately sought turn it to. But arguing that that predicate to a n ARCP
 7
     90.2 minor approval (despite the 7/20/20 Probate decree EX A was that the minor was in
8

9    fact the deceased’s minor child so that she had no entitlement under the settlement so there

10   was nothing to approve. Rainey them may have aided Survivors efforts to mix things up by
11   seeking a delay until he could get the paternity test which he anticipated would quick moot
12
     this issue (and still hasn’t heard if they won’t). Clearly that was not in fact the result the
13
     parties policy limits settlement documents clearly envisioned EX B-H but rather clearly by
14
     its terms this proceedings was to be a simple cooperative effort to secure ARCP 90.2 approval.
15

16           Plaintiff has since that order timely moved that court under ARCP 77(k) for

17   reconsideration (primarily) under the authority of Matter of Estate of Brandon which expressly
18   instructs the Superior Court on how to proceed when during that course of a 90.2 settlement
19
     approval an issue of paternity is involved. That decision unfortunately didn’t come to
20
     Rainey’s counsel attention until the weekend before the 12/28/20 Monday morning hearing
21

22   the court had scheduled (on an order sorting time) and though Rainey brought it to the

23   court’s attention om an ARCP 77(l) citation to supplemental authority, so clearly it wasn’t

24   waived its highly doubtful that it came to Judge Wallace’s attention so there is in your
25
     undersigned’s view a possibility of that motions success.
26

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                However that said, Rainey believes that a more direct path to getting this issue on
 1

 2   track is for this court to reaffirm at that it has no objection to the parties proceeding to

 3   address only this issue of ARCP 90.2 approval under the provisions of pg. 3 of his order
4    indicating that it was without prejudice to being renewed if this court felt that it is not
 5
     entitled to an appropriate legal remedy before this court. Which unless this court is going to
6
     risk6 violating the “probate exception” to its jurisdiction7 it should clearly hold it pulled the
 7
     matter off its calendar to allow the parties to proceed to the Superior Court try to do.
8

9    Meanwhile this court should not allow the survivors to ignore Hartford supra and Maryland

10   Casualty Co. v. Cushing 347 U.S. 409 (1954) by imploring it to employ an unnecessary 28
11   USC 1335 interpleader action which by their own admissions requires new pleadings,
12

13   6 The risk of course is that as the parties can’t confer jurisdiction on this court by consent and even
     if they could that was not the parties agreement which was to seek ARCP 90.2 approval. Survivors
14   seek to compress this issue of minor approval into the issue of if approved what becomes of the
     $9.0 in funds which Rainey has suggested various options to without response. And of course he
15   can’t make the parties come to an alternative agreement. Nor likewise can this court short of holding
     these relatively benign terms void as contrary to the Washington bar ethics rules do not require the
16   party holding funds claimed by multiple parties to immediately run out to file an expensive
     cumbersome interpleader (When it already has admiralty jurisdiction quasi in rem. See infra
17   7 It might interest this court to review Alaska District Local rule 68.1 which always send these

18   approvals to Alaska State court
     Civil Rule 68.1 Settlements and Judgments in Favor of a Minor(a) Authority to Settle a
19   Minor’s Claim Settlement, compromise, or other resolution of a minor’s claim by a parent or
     legal guardian of a minor must comply with this rule. (b) Settlements A settlement agreement,
20   release, or stipulation that resolves or dismisses a minor’s claim must be approved by the Superior
     Court for the State of Alaska under Alaska Rule of Civil Procedure 90.2.(1) The Superior Court must
21   approve:(A) the terms of any settlement, release or stipulation; and(B) the plan of disbursement,
     including the provisions for expenses, costs, and fees.(2) No judgment or order of dismissal will be
22
     issued until the Superior Court’s order approving the settlement, release or stipulation under Rule
23   90.2 is filed with this court. (c) Judgments Upon judgment in favor of a minor, the parent or
     guardian asserting the claim on behalf of the minor must seek approval of any plan of disbursement
24   of the proceeds from the Superior Court for the State of Alaska under Alaska Rule of Civil
     Procedure 90.2.(1) The Superior Court must approve the plan of disbursement contemplated,
25   including the provisions for expenses, costs, and fees.

26

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     reservice, the deposit of the $9+ M in court (or an expensive bond) and then according to
 1

 2   Rainey sources Jim Klapp investment advisor (proposed by SR) that the funds would lose

 3   their tax exempt 468B Qualified Settlement Fund status
4               Meanwhile this appears to be a ploy for the survivors to bootstrap themselves into a
 5
     jury trial (which these Rainey victims never sought unless that court declined to assert it
6
     Hartford admiralty equitable concursus jurisdiction. Jury trials in this form of (traditional)
 7
     interpleader are not allowed by the terms of survivors own authority See Gribble and Lawler
8

9    12/29/20 response pg. 6. Citing Hyde Properties v. McCoy, 507 F.2d 301, 304 (6th Cir. 1974).

10   Any party attempts to claim jury in this matter that should be the subject of further briefing.
11
                                               CONCLUSION8
12
                The Rainey claimants are as anxious as anyone to get into the respective damages
13
     discovery in this case so as to allocate the funds but presently that’s premature as the parties
14

15   don’t have minor approval of their settlement and that may be difficult until the Alaska State

16   Court Rules that all parties are bound by its EX A determination that this minor’s paternity
17   has already been decided, or if remotely the Superior court was persuaded to entertain the
18
     notion of retrying it then it should make that ruling. This court should make it clear to the
19
     Alaska superior court that its minute order and now were intended to allow the parties to
20

21
     8 AS 13.26.021, and Alaska Probate Rule (APR) 14(d) proscribes conservatorship and other
22
     protective proceedings brought under AS 13.26 are Confidential proceeding are “confidential” and
23   that they may be sealed under certain circumstances. APR 17(g) proscribes that ARCP 90.2 Minor
     Settlement approval proceedings are “conservatorship proceedings”. Despite being alerted to these
24   law before they appeared and moved to intervene in these proceeding survivors on information and
     belief survivors counsel have ignored these Alaska privacy commands by sharing the events of
25   those proceedings with other non-party (SR and Seth-Russo) Counsel and most recently attaching a
     copy of the 12/29/20 interlocutory order of the Kodiak Superior Court refusing to approve this
26   minor settlement.

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     being these issues to it and for it to them determine if this settlement was in the minor’s best
 1

 2   interests. And that until it does so the parties don’t have a settlement for this court to allow

 3   discovery on and to proceed to distribute,
4    Respectfully submitted this January 12, 2021 at Friday Harbor, Washington
 5

6             /s/Lawrence Delay                                   /s/ Gerald Markham
             Lawrence Delay WSBA # 20339                          Gerald Markham ASBA # 72-10058
 7           lcdelay@rockisland.com                                gmarkham@nwlink.com
             Attorney for the above claimants                      Attorney for the above claimants
8            232 “A” St. Suite 8                                   211 Mill Bay Road
             PO BOX 8                                              Kodiak, AK 99615
9            Friday Harbor WA 98259                                PH 907-486-4194
             PH 360-378-6976                                       WA # 360-378-2047
10

11
                                          CERTIFICATE OF SERVICE
12

13           The undersigned certifies under penalty of perjury under the laws of the State of

14   Washington that I electronically filed a true and correct copy of the forgoing document on

15   January 12, 2021, with the Clerk of the Court using the CM/ECF system which will send
16   notification of such filing to the following:
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      Claimant Estate of Brock Rainey status report.                              Ger ald M ar kham Attor n ey
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             Case 3:20-cv-05376-BHS Document 46 Filed 01/12/21 Page 13 of 13




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        Signed at Friday Harbor , Washington this 12th day of January 2021.
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                                                /s/ Gerald W. Markham          ______
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